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         Exhibit 29
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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF FLORIDA

JOHN DOE #1–14 and JANE DOE #1–2,

                      Plaintiffs,

     v.                                      Case No. 1:21-cv-02228-AW-HTC

LLOYD AUSTIN, et al.,

                      Defendants.

                DEFENDANTS’ EXHIBIT 29
   SUMMARIZING EACH PLAINTIFFS’ STANDING AND RIPENESS

 Jane Doe #1      Willing to take Comirnaty. Jane Doe #1 Decl. ¶¶ 6 & 7.
 Air Force        No medical exemption request.
                  Identity not disclosed to Defendants.

 Jane Doe #2      Pending religious exemption. Jane Doe #2 Decl. ¶ 6.
 Marine Corps     Claims her new position does “not require me to have the
                   COVID-19 vaccination.” Id. ¶ 8.
                  Identity not disclosed to Defendants.

 John Doe #1      Pending religious exemption. John Doe #1 Decl. ¶ 6.
 Marine Corps     No medical exemption request.

 John Doe #2        Willing to receive Comirnaty. John Doe #2 Decl. ¶ 5.
 Air Force          Pending religious exemption. Id., ¶ 8.
                    No medical exemption request.
                    John Doe #2 failed to request an exemption by the
                     deadline. The Air Force initiated
                     disciplinary proceedings, but terminated the
                     proceedings after John Doe #2 submitted a religious
                     exemption request. Langan Decl., Ex. 27, ¶ 13. Officer
                     issued a letter of reprimand for missing the deadline to
                     request an exemption (which may be withdrawn). Id.
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John Doe #3      Pending religious exemption. John Doe #3 Decl. ¶ 5.
Air Force        Pending medical exemption. Id. ¶ 6.
                 Identity not disclosed to Defendants.

John Doe #4      Already received a vaccine. John Doe #4 Decl. ¶ 7.
Air Force

John Doe #5      No request for religious or medical exemptions. John Doe
Air Force         #5 Decl. ¶ 8.

John Doe #6      Pending religious exemption. John Doe #6 Decl. ¶ 7.
Marine Corps     No medical exemption request.
                 Identity not disclosed to Defendants.

John Doe #7      Plaintiff submitted an Article 138 (grievance) challenging
Army              the order and waiting on a response. John Doe #7 Decl.
                  ¶ 8.
                 No request for medical or religious exemption.
                 Identity not disclosed to Defendants.

John Doe #8      Pending religious exemption. John Doe #8 Decl. ¶ 7.
Navy             A “page 13 sanction” is not injury because it is an
                  administrative remark in a personnel record, can be revised
                  in the future, and no evidence of any actual injury arising
                  from the remark. Id.
                 Identity not disclosed to Defendants.

John Doe #9      Pending religious exemption. John Doe #9 Decl. ¶¶ 8 &
Air Force         9.
                 No medical exemption request. Id. ¶ 7.

John Doe #10     Pending medical exemption. John Doe #10 Decl. ¶ 7.
Air Force        Pending religious exemption. Id.

John Doe #11     No request for religious exemption. John Doe #11 Decl.
Marine Corps      ¶ 6.
                 No request for medical exemption.

John Doe #12     Pending religious exemption. John Doe #12 Decl. ¶ 6.
Marine Corps     No request for medical exemption.
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                 Page 11 mark on record is not harm since it notified
                  service member of vaccine requirement and provided
                  information about the deadlines to apply for
                  exemptions. Id. ¶ 12.
                 Identity not disclosed to Defendants.

John Doe #13     No pending religious or medical exemption.
Navy

John Doe #14     Pending religious exemption. John Doe #14 Decl. ¶ 9.
Navy             No request for medical exemption.
                 Identity not disclosed to Defendants.
